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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                  :       Hon. Claire C. Cecchi
                                          :
       v.                                 :       Mag. No. 19-877 (CCC)
                                          :
MATTHEW BRENT GOETTSCHE,                  :
[DEFENDANT TWO]                           :
JOBADIAH SINCLAIR WEEKS,                  :       PROTECTIVE ORDER
JOSEPH FRANK ABEL, and                    :
SILVIU CATALIN BALACI                     :


       This matter having come before the Court on the joint application of the United

States, by Craig Carpenito, United States Attorney for the District of New Jersey (David

W. Feder, Jamie L. Hoxie, and Anthony P. Torntore, Assistant U.S. Attorneys,

appearing), and defendants MATTHEW BRENT GOETTSCHE (Rodney Villazor, Esq.,

Benjamin Sauter, Esq., Hartley West, Esq., and Andrew Lourie, Esq., appearing),

JOBADIAH SINCLAIR WEEKS (Simon Gaugush, Esq., Michael L. Yaeger, Esq., Andrew

M. Hinkes, Esq., and Adam P. Schwartz, Esq., appearing), and JOSEPH FRANK ABEL

(Jason J. Leboeuf, Esq., appearing), for a protective order concerning the use of

discovery materials, including any documents or other information subject to the

Government’s disclosure obligations pursuant to Rule 16 of the Federal Rules of

Criminal Procedure, Title 18, United States Code, Section 3500, Brady v. Maryland, and

United States v. Giglio, that contain the following information: (1) a third party’s (a) name

or likeness; (b) social security number; (c) taxpayer-identification number; (d) birth date;

(e) financial-account number, including cryptocurrency wallets and private keys; (f)

home or business address; (g) telephone number; (h) email address; and (i) social media

account identifiers; (2) the applications and/or affidavits in support of search warrants,

arrest warrants, pen registers, 18 U.S.C. § 2703(d) orders, ex parte tax orders, and

Mutual Legal Assistance requests obtained during the investigation; and (3) any other
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discovery   materials    that   the   parties   designate   as   “confidential”   (hereinafter,

“Confidential Discovery Materials”); AND

       The parties having agreed that the procedure to regulate the disclosure and use

of the Confidential Discovery Materials will not impede the Defendants’ preparation of

defenses, but merely will protect against the improper dissemination or use of any

Confidential Discovery Materials; AND

       For good cause shown,

       IT IS on this _____ day of March, 2020,

       ORDERED that:

       1.     In addition to making the Confidential Discovery Materials available to the

defense for inspection, review, and copying, the Government is authorized to provide

defense counsel with a copy of the Confidential Discovery Materials to facilitate

preparation for trial.

       2.     The Confidential Discovery Materials shall be used by defense counsel

only in the preparation of the defense in this case.

       3.     Access to the Confidential Discovery Materials will be restricted to

personnel authorized by the Court, namely, (1) the Defendants and counsel of record,

and associated attorneys, paralegals, investigators, experts (retained pursuant to a

written retainer agreement, by the Defendants and/or their counsel in connection with

the criminal case, and the experts’ employees and support personnel), and secretaries

employed by counsel of record and performing services on behalf of the Defendants

(collectively, the “Defense”), (2) individuals who the Defense in good faith believes may

either be a prospective witness in the action, or who may be able to provide the Defense

with leads for purposes of defending this action, (3) third-party consultants (and their

employees and support personnel), and/or litigation support vendors or services,


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including outside copying services or companies engaged in the business of supporting

computerized or electronic litigation discovery or trial preparation, and (4) such other

persons as hereafter may be authorized by the Court upon a Defendant’s motion.

      4.     Notwithstanding the provisions of Paragraph 3, the Defense may discuss

or review Confidential Discovery Materials with other individuals, including prospective

witnesses and their counsel, as necessary to prepare the defense, but the Defense shall

not permit such individuals to possess or retain Confidential Discovery Materials or

duplicate versions.

      5.     The following restrictions will be placed on the individuals described in

paragraph 4 unless further ordered by the Court. These individuals shall not:

             a.       Duplicate Confidential Discovery Materials for, or allow copies of

any kind to be made by, any other person not described in Paragraph 3, or allow

Confidential Discovery Materials to be otherwise disseminated;

             b.       Allow any person to read, view, or possess Confidential Discovery

Materials except as provided in Paragraphs 3 and 4; or

             c.       Use Confidential Discovery Materials for any other purpose other

than in connection with the preparation of a defense against the charges in this matter.

      6.     Defense counsel shall advise any person to whom Confidential Discovery

Materials are disclosed by defense counsel that such information should be held in strict

confidence and that the person must comply with the restrictions of paragraph 5 above.

      7.     Except as provided in Paragraphs 3 and 4, the Defense shall not disclose

Confidential Discovery Materials to any person without leave of Court obtained on

application to the Court and with notice to the Government.

      8.     If any party, including the Government, includes any Confidential

Discovery Materials in connection with the filing of a motion, that party shall file such


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materials provisionally under seal. Any party shall have ten days from the date of such

filing to file a formal motion to seal any or all such materials, which may be opposed by

any other party. If the Court grants the motion to seal, the materials at issue in the

motion to seal shall remain under seal. If no motion to seal is filed, or such motion is

denied, the materials shall be unsealed.

       9.     The Defense may disclose the Confidential Discovery Materials for use at

trial, subject to Fed. R. Crim. P. 49.1 and any other applicable law or rules.

       10.    This stipulation is binding on all future and successor counsel.

       11.    Within a reasonable period of time following the conclusion of this

litigation (i.e., when the Defendant has exhausted any rights of direct appeal from any

judgment and conviction resulting from a trial or guilty plea, and the conclusion of any

habeas proceedings; or the one-year limitation period to bring a petition pursuant to 28

U.S.C. §2255, if no such petition is filed prior to that time), the Defendant’s counsel

shall collect and return to counsel for the United States, or destroy and certify to counsel

for the United States such destruction, all additional copies of the materials containing

Confidential Discovery Materials (excluding any materials over which the Defendant has

a proprietary or ownership interest), except for copies of Confidential Discovery

Materials that remain in defense counsel’s files and which are stored within defense

counsel’s offices or in a secure file storage facility.




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      12.    This Order does not constitute a ruling on the question of whether any

particular material is properly discoverable or admissible and does not constitute any

ruling on any potential objection to the discoverability of any material.




                                                __________________________________
                                                Honorable Claire C. Cecchi
                                                United States District Judge


Consented to as to form and entry:



____________________________________
David W. Feder
Jamie L. Hoxie
Anthony P. Torntore
Assistant U.S. Attorneys



____________________________________
Rodney Villazor, Esq.
Benjamin Sauter, Esq.
Hartley West, Esq.
Andrew Lourie, Esq.
Counsel for defendant Matthew Brent Goettsche




____________________________________
Simon Gaugush, Esq.
Michael L. Yaeger, Esq.
Andrew M. Hinkes, Esq.
Adam P. Schwartz, Esq.
Counsel for defendant Jobadiah Sinclair Weeks




____________________________________
Jason J. Leboeuf, Esq.
Counsel for defendant Joseph Frank Abel



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         12.   This Order does not constitute a ruling on the question of whether any

  particular material is properly discoverable or admissible and does not constitute any

  ruling on any potential objection to the discoverability of any material.




                                                  Honorable Claire C. Cecchi
                                                  United States District Judge


  Consented to as to form and entry:




  D id W. Feder
   amie L. Hoxie
  Anthony P. Torntore
  Assistant U.S. Attorneys




  Rodney Villazor, Esq.
  Benjamin Sauter, Esq.
  Hartley West, Esq.
  Andrew Lourie, Esq.
  Counsel for defendant Matthew Brent Goettsche




  Simon Gaugu , Esq.
  Michael L. Yaeger, Esq.
  Andrew M. Hinkes, Esq.
  Adam P. Schwartz, Esq.
  Counsel for defendant Jobadiah Sinclair Weeks




  Jason J. Leboeuf, Esq.
  Counsel for defendant Joseph Frank Abel
